Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 1 of 24




              Exhibit 10
                  [CORRECTED]
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 2 of 24

 1                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3

 4    - - - - - - - - - - - - - - - - - )

 5    IN RE:                                  *

 6    OATH KEEPERS                            * CASE NO. 2021-R-00494

 7                                            *

 8    - - - - - - - - - - - - - - - - - )

 9                             File: IMG_5449.MOV

10

11

12                            Recorded Meeting of:

13                                OATH KEEPERS

14

15

16                         Tuesday, November 9, 2021

17

18

19

20

21

22

23

24

25

                             FREE STATE REPORTING, INC.
                          Court Reporting Transcription
                               D.C. Area 301-261-1902
                            Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 3 of 24         2

 1                           P R O C E E D I N G S

 2                MR. RHODES:    -- get him to concede as probably

 3    there's chatter about him running in 2024.           There's no such

 4    thing as another election in this country of any meaningful

 5    sense and term if you let this stand.          So you cannot do

 6    that.   The fraud was in person.       The fraud was not just

 7    keeping poll watchers from being able to do their jobs, it

 8    was bringing in extra ballots by the suitcase-load, but it

 9    was also -- beyond that, that it's also flipping the numbers

10    with the scorecard software.        So they did it multiple ways,

11    but they did it.     Which, you know, 2016 would overwhelm

12    their thoughts, and they tripped.        They cheated enough this

13    time, and they kept cheating.       That's why they kept closing

14    down the counting and then go find more votes.            So they just

15    kept on counting until, you know, supposedly they won.              And

16    don't be surprised if they don't try to take the Senate,

17    too.    I think that's their actual goal is to try to split

18    the Senate and make it seem like that's somehow, you know,

19    an indicator that Democrats screwed up.          That's all Kabuki

20    theatre, so they're going to steal it.

21                So the only way to really stop them is for Trump

22    to, first of all, refuse to concede.         The second thing he's

23    got to do is he has got to use his authority as

24    Commander in Chief to do two critical things.            One is to

25    declassify all of the dirty secrets and do a massive data

                             FREE STATE REPORTING, INC.
                          Court Reporting Transcription
                               D.C. Area 301-261-1902
                            Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM    Document 104-1   Filed 04/21/22   Page 4 of 24    3

 1    dump.   And to do that, it can't be the normal channels with

 2    the CIA, FBI, et cetera.        (Indiscernible).      So what he needs

 3    to do is have the military do is to seize those buildings,

 4    seize all those records, seize all the databases, and turn

 5    them over to military intelligence.          Let them take care of

 6    the declassification with all of those orders.

 7               And, frankly, if I were him I would use my

 8    Special Worker Assets.       He should use his, you know,

 9    U.S. Special Forces, Army Rangers, Navy Seals, you know, use

10    SOCOM, as backed up by his Marine Raiders and, you know,

11    whatever else he's got, 82nd Airborne.           Just go and seize

12    all of those buildings to get that.          And just do it, and

13    look what keeps falling in afterwards.           Because all he's got

14    to do is go and declassify the first record of some

15    pedophile who's in the Congress and then another one and put

16    the videos online and let the people watch them.              Just like

17    (indiscernible).      Put it all online, everyone will see it.

18    You can't stop that.       And then, once that happens, once he

19    discloses the first handful of pedophiles who are in office,

20    then the avalanche can keep on coming, and the people will

21    turn against the deep state.         The mask will come off, the

22    curtain will be pulled back, and we'll see the little man

23    behind it; the little demon behind it.           So that's what he

24    needs to do.       He has to.   That's his only actual chance of

25    ever defeating the deep state, draining the swamp, he needs

                               FREE STATE REPORTING, INC.
                            Court Reporting Transcription
                                 D.C. Area 301-261-1902
                              Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM    Document 104-1   Filed 04/21/22   Page 5 of 24          4

 1    to do that now.

 2               And then he also, at the same time, should invoke

 3    the Insurrection Act.       He doesn't need to build the -- I was

 4    talking to Kellye about this -- you know, he doesn't need to

 5    build some kind of complicated case about election fraud,

 6    and collusion, and RICO, and conspiracy to justify bringing

 7    the Insurrection Act.       He now has the facts --

 8               (Static interruption.)

 9               MR. RHODES:      You guys, mute your phone, if you're

10    not talking.       You've got a lot of feedback on there.

11               So those are the two things he has to do.                 That's

12    why we got to focus like a laser on this, okay.

13    Declassification and data dump and invoking the Insurrection

14    Act, and suppressing this insurrection.           And he's never

15    going to get the media to agree.         He's never going to get

16    the politicians in D.C. to agree to those.            He's never going

17    to get the judges to agree with this, he just has to do it.

18    But once he does it, once the avalanche comes down,

19    especially all of the crooked judges -- that's my number two

20    thing -- couple of crooked politicians and a couple of

21    corrupt, sold-out pedophile judges who are out there.                 But

22    the judges -- in other words, you de-fang your opponents.

23    You take away the authority, the perceived authority of the

24    courts, to stop you.       You take away the perceived authority

25    of Congress to say shit.        And then you go after the deep

                               FREE STATE REPORTING, INC.
                            Court Reporting Transcription
                                 D.C. Area 301-261-1902
                              Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1    Filed 04/21/22   Page 6 of 24         5

 1    state itself, which is the CIA, the NSA, and the people

 2    behind them; George Soros, all the other decision makers

 3    that are behind the scenes pulling the strings.              Whenever he

 4    decides to do that, that's what he needs to do.              Those are

 5    the two things.

 6                In order to get him to do that is that he needs to

 7    know that people are behind him.         That he will not be

 8    deserted, and he has to have positive pressure, so we've got

 9    to be in D.C.      You have to be willing to go to D.C. and

10    street fight Antifa.      If you're going to -- get them to

11    street fight.      So here they're going to try to attack

12    people.    Don't be afraid, you know.        Go there in large

13    numbers.    That's why we need to be there.           Those who are

14    able-bodied and able to handle themselves, they should be

15    the ones that are on the frontlines.

16                I just talked to, when I was in Virginia.                You

17    know, Major Doug and I went up there with some other

18    veterans to do a recon, and we talked to little old ladies

19    that plan to protest in Washington, D.C., so none of you

20    have any excuse of going.       Go to it as an attendee, if you

21    don't feel like you're in a good fighting shape, go right

22    ahead and come as an attendee and lend your voice and lend

23    your bodies, and we'll protect you.          And those of us who are

24    stronger and more fit, then that's our responsibility to be

25    a shield.   We've got to go.        We've got to be there, okay.

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 7 of 24         6

 1    And when they defaced the World War II Memorial earlier this

 2    summer, I called for a call to action for defending, I got

 3    crickets.   Because no one wanted to go into D.C.            Because I

 4    can't carry a gun there, you know, I can't go around it --

 5    you need to go in there and just be ready to fight.                 And if

 6    the fight comes, let the fight come.         Let Antifa go -- if

 7    they go "kinetic" on us, then we'll go "kinetic" back on

 8    them.    I'm willing to sacrifice myself for that.           Let the

 9    fight start there, okay.      That would give President Trump

10    what he needs rapidly.      If things go "kinetic," good.            If

11    they blow bombs up and shoot us, great.          Because that brings

12    the President his reason and rationale for dropping the

13    Insurrection Act.     I don't think it will, so you understand

14    that.    That's plan A because we will be in D.C.           I'll be in

15    there.   You've got -- what's his name from InfoWars, Owen

16    Shroyer, who's leading a caravan from (indiscernible) Texas

17    is coming, which I think is great.

18                So I see some text chatter that, hey, you know,

19    that our country's lost or who's going to have the Republic

20    of Texas resurrect.     I want to remind you that there were

21    men that died at the Alamo who were from New York, who were

22    from New England.     Okay?   They traveled across the country,

23    across their country to a foreign country at the time,

24    because fellow Americans were fighting this battle.                 Do not

25    give up on the country.       You can't hide in (indiscernible)

                             FREE STATE REPORTING, INC.
                          Court Reporting Transcription
                               D.C. Area 301-261-1902
                            Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM    Document 104-1   Filed 04/21/22   Page 8 of 24          7

 1    in Texas because you'll be surrounded.           You think commies

 2    would let the free Texas survive?         It's not happening.          So

 3    don't give up the ground.        Don't give up the entire rest of

 4    the continent to the commies, they're never gonna let you

 5    have a free Texas.       You've got to fight for the whole

 6    country now.       You know, the Chinese are implanting their

 7    puppet in the White House.        You'd better fight now.            But

 8    they're landing on California soil right now, and you just

 9    sit in Texas and wait until it got to Texas or would you

10    Texans ride straight through to California?             I think you

11    know the answer to that.        So you can't hide.

12                 And put aside any talk about moving to some other

13    country, either.      I heard that kind of chatter, too.             You

14    are Oath Keepers.       You've got a responsibility and duty.

15    You know you raised your freaking right hand.             You swore

16    that oath.    You don't get to back out of it and run to

17    freaking Belize or Costa Rica or anyplace else.              You've got

18    to fight.    So we have a chance to get President Trump to

19    fight as Commander in Chief.         If you're going to have a

20    fight, guys, you want to start now while he's still

21    Commander in Chief.       You do not want to waste this

22    opportunity and let him feel like he has no support when he

23    goes to play and he starts listening to the snakes that are

24    in his ear right now, encouraging him to quit, like Kushner.

25    You've got to go there and you've got to make sure that he

                               FREE STATE REPORTING, INC.
                            Court Reporting Transcription
                                 D.C. Area 301-261-1902
                              Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1    Filed 04/21/22    Page 9 of 24       8

 1    knows that you are willing to die to fight for this country.

 2                 And on your way to D.C., you all need to go to

 3    Arlington.    Go look at those crosses.         Okay?     And think

 4    about what those men would tell you if they could speak.

 5    What would they say to you right now?           You know, a lot of

 6    them were like 16, 17, 18 years of age, you know.               A lot of

 7    them lied about their age just to go fight.              And they were

 8    willing to give up their entire life.           Most of us are in our

 9    50s or 60s or older.       You've lived a good life.          You've

10    lived way past the age of these young men died.               And if you

11    don't stand up now, everything they fought for and died for

12    will be fought for nothing.         You can't do that.        So you've

13    got to bolster yourself and you've got to turn around and

14    bolster President Trump.      He has got to be reminded of what

15    he promised, that he would drain the swamp.              You've got to

16    be showing him the way.      Showing him the way.          The good news

17    is Don, Jr., just tweeted yesterday, right Kellye -- just

18    yesterday that Trump should declassify everything.               What did

19    he say?

20                 MS. SoRELLE:    Declassify now.

21                 MR. RHODES:    Declassify now.      Declassify

22    everything.    Declassify everything now.

23                 MS. SoRELLE:    Yeah, yeah.

24                 MR. RHODES:    So it's starting.         The message is

25    getting to him.     We just have to keep on pounding that drop,

                             FREE STATE REPORTING, INC.
                          Court Reporting Transcription
                               D.C. Area 301-261-1902
                            Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 10 of 24     9

 1    but the best way to do that is to be assembled at the

 2    White House; as many Americans as possible, and us

 3    Oath Keepers.      We have the responsibility to protect the

 4    people who are going down there.

 5                So our mission's going to be to go into D.C., but

 6    I do want some Oath Keepers to stay on the outside and to

 7    stay fully armed and prepared to go in armed if they have

 8    to.   So if the shit kicks off, you rock and roll.             Okay?

 9    So -- or if they -- originally, we were thinking that they

10    were going to lay siege to the White House.            And that's

11    still a possibility.      There's still a possibility of a

12    Benghazi style assault on the White House.

13                So our posture is going to be that we are posted

14    outside of D.C., because obviously, D.C. has crappy gun

15    laws.   So our posture's going to be that we're posted

16    outside of D.C. awaiting the President's orders.             We're not

17    going to (indiscernible) legit.        We're hoping he will give

18    us the orders.     We want him to declare an insurrection, and

19    to call us up as the militia.        Because all us veterans until

20    age 65 are subject, under statute, to being called up by the

21    President as a militia.       So he can do that.       And if he does

22    that, then D.C. gun laws won't matter.           They're trumped by

23    his invocation of the Insurrection Act and calling you up.

24                So those of you who are -- who feel capable --

25    look, if you just want to go as an attendee along with the

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 11 of 24        10

 1    little old ladies that will be going down there, then just

 2    go as an attendee.      But if you feel physically capable and

 3    you are fit to go, ready to go and stand on the front line

 4    against Antifa, then I want you to commit to that.               We're

 5    going to form chains that will be doing that inside D.C.

 6    But we also want to have some of our best men bolstered up

 7    outside.

 8                We'll have to make a determination about who goes

 9    where and who's going to be on the outside and who's going

10    to be on the inside.      So we're going to have a QRF.          But

11    that QRF will be awaiting the President's orders.              That's

12    our official position.      And the reason why we have to do it

13    that way is because that gives you legal coverage.               Because

14    otherwise this kind of goes back to what Mike was saying

15    about guys being hot on the forums.          I get it.     We're all

16    pissed off.    But we're in an era now where everything you

17    say is being monitored -- by now this phone call's being

18    recorded by the NSA and FBI and CIA, I'm sure.             And

19    everything you say, can and will be used against you.                So

20    you guys need to have discipline.         Don't make it easy for

21    them to pop you with a conspiracy charge and do to you what

22    they did to those guys from Michigan, because they got them

23    hot under the collar, probably after a few beers, and got

24    them talking smack.

25                So be disciplined.      But let's make no illusion

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 12 of 24      11

 1    about what's going on in this country.           We're very much in

 2    exactly the same spot that the founding fathers were in like

 3    March 1775.    Now -- and Patrick Henry was right.           Nothing

 4    left but to fight.      And that's true for us, too.         We're not

 5    getting out of this without a fight.          There's going to be a

 6    fight.    But let's just do it smart and let's do it while

 7    President Trump is still Commander in Chief and let's try to

 8    get him to do his duty and step up and do it.

 9                Now there's some legal stuff going on.           There

10    are -- there's an active team working on building the case

11    for the election fraud.       I think that's worth doing.            All of

12    these things matter.      But in the end, I don't trust lawyers

13    or judges, and I don't think that's going to do it entirely

14    on its own.    It's going to take a combined effort.            And the

15    most important court is the court of public opinion.                 So all

16    that's good, you need to have -- the people need to be boots

17    on the ground in Washington, D.C., making it clear that they

18    are not going to take it.       We're not going to stand for it.

19    And when we say it's unacceptable, we have to mean that.

20    We're not going to accept it.        That Biden will -- you know,

21    if he manages to crawl into the White House, he'll be a

22    puppet.    But our message will be, we're not going to let

23    that happen, and we have to propel Trump to do what he can.

24                But, hey, Kellye's here, and I wanted to have her

25    say a couple of things about what she can talk about as far

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1    Filed 04/21/22   Page 13 of 24   12

 1    as the legal fight.      So Kellye, if you don't mind, tell them

 2    what you can tell them.

 3                 MS. SoRELLE:   I don't have video, but -- okay, so

 4    guess what I kind of go into on being that there's

 5    multiple -- okay.      So here's what I have learned about

 6    our -- we have multiple pods working the project.               So

 7    there's like the RNC pod, a little pod where they're doing

 8    their own project to try to solve the mystery of the

 9    ballots.    Then we have the Back-Channel Pod, is what I'm

10    going to call them.      That would be like the Q crowd, and

11    they have their pod where they are trying to solve the

12    mystery of the ballots.       And then you have the Giuliani

13    Pals, I guess, maybe the Campaign Pod that's trying to solve

14    the mystery of the ballots.         So I've been in communication.

15    I obviously work the RNC version of it, and then I'm in -- I

16    like the Q crowd, they're kind of fun, and then I've been

17    meeting with the Campaign crowd.          I will say that we have,

18    over the last few days, have transitioned in conversation

19    from suit filings -- which there will be suit filings, so

20    don't think there's not going be that.            But also talk of

21    things like insurrection and rebellion is probably more the

22    terminology and collusion and RICO violations and things

23    like that.    So it's been pretty interesting.           I think

24    they're trying really hard to tie the media and the

25    establishment into this whole rebellion to -- saying, I

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM    Document 104-1   Filed 04/21/22   Page 14 of 24     13

 1    think that's the case -- they're saying not necessarily

 2    assuming that it's every going to go legal, as much as just

 3    for the people to understand what's actually happening.               And

 4    so I think there's a strong chase that we may actually see

 5    some declassification and things like that.

 6                MR. RHODES:     So she's got that message on to them

 7    that the President should do a data dump, and just a few

 8    hours later --

 9                MS. SORELLE:     Yeah.

10                MR. RHODES:     -- that's when Don, Jr., said that on

11    Twitter.    It's a pretty good chance that that's something

12    that --

13                MS. SORELLE:     It's on the table.

14                MR. RHODES:     -- is on the table, right.          And so to

15    push that, that's why we need to, you know, signs in D.C.

16    should be, "Do the Data Dump," or you know, "Declassify,"

17    "Declassify Now, Declassify Everything."              Just quote Don,

18    Jr.   Just make sure that the President knows that that's

19    exactly what we want him to do, and that we'll support him

20    every step of the way.

21                And then we need to turn to the military and let

22    them know this is what has to happen.           And when it happens,

23    we need to support him every step of the way.              We do not do

24    stand-downs.       What we're concerned about are Benghazi style

25    stand-downs.       You've got traitors inside the Pentagon, just

                               FREE STATE REPORTING, INC.
                            Court Reporting Transcription
                                 D.C. Area 301-261-1902
                              Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22    Page 15 of 24     14

 1    like you've got traitors inside every branch.              You've got

 2    traitors inside of Trump's own inner circle.             So that's the

 3    problem.    So you can't take it for granted.           Do not take it

 4    for grated that everybody that's around him is giving him

 5    good advice or is onboard with this.          That's why you've got

 6    to presume the opposite.       You've got to presume that there

 7    are worms in his ear are telling him that he can't do these

 8    things including some of his own lawyers.             You've got to

 9    count on that.     You've got to count of some of his military

10    advisors and national security advisors also in his ear

11    telling him he can't do this.        So the people need to say

12    that, especially us veterans.        The more -- the higher your

13    level of rank and your credibility in the community, the

14    higher your responsibility to be public.

15                It's been frustrating for us.            Kellye and I can

16    tell you, and we're talking to retired Special Forces' guys,

17    you know, senior officers, and men who that are plugged

18    within the community, and they give him the same word back.

19    It's like we're the ones used to being in the shadows, and

20    we just want to stay in the shadows.          That's not cutting it.

21    These special workers need to step up now and stall this.

22    They need to step up now.       The Special Forces' Association,

23    it's the Seals Association, all these communities need to

24    step up and say that we call on the President to do X, Y,

25    and Z, and we will support him.        Because if they do that,

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 16 of 24   15

 1    all of the old gray beards, the retired respected guys in

 2    those communities, will stand up and say it.            Then the ones

 3    in the current squads will listen to that.            And then they've

 4    got to go talk to them directly, too.          And so, I urge you.

 5    I challenge you.     Go and rattle the cages of your brothers.

 6    Go talk to all of the guys that you served with and all of

 7    the guys in your communities, whether you're -- no matter

 8    what your specialty is, go talk to your people.             But get the

 9    senior respected men, your enlisted men, and officers, to

10    go -- you know, the NCOs and the commissioned officers -- to

11    go and make public statements.        Even if you're in D.C.,

12    frankly, I want to see, you know, the more respected

13    leaders, military leaders that you can get in D.C. standing

14    up because of it and calling out -- calling what it is.

15    Calling a spade, a spade, you know, and making it really

16    clear.    Kind of the reverse of what you saw with people

17    protesting the war and throwing their medals at the White

18    House.    You could stand there saying, you know, we're going

19    to defend the President, the duly-elected President, and we

20    call on him to do what needs to be done to save our country.

21    And if you don't, guys, you're going to be in a bloody,

22    bloody civil war.      And a bloody -- you can call it a

23    counter-insurrection or you can call it a guerilla fight.

24                Just the other day we were in Virginia and met

25    some awesome people.      Ranger veterans, Special Forces

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM    Document 104-1     Filed 04/21/22    Page 17 of 24      16

 1    veterans, you know, (indiscernible) awesome people.                  Marine

 2    Corps Raiders and Recon guys.           All were there at that rally

 3    we went to in Virginia, and they were hopping mad.                  We

 4    talked to a bunch of them.           When I was talking to one of

 5    them, he said that -- he was like, well, you know, this

 6    could turn into a guerilla -- he's thinking the classic

 7    Robin Sage kind of guerilla scenario.             We could try to do a

 8    guerilla insurgency on our side fighting against a corrupt

 9    regime.

10                Basically, my message to him was, well, wait a

11    minute, man.       In the end, what's the whole point of the

12    guerilla movement?       If you want to go to bat, let Biden take

13    over and he holds the reins of power.             Now you're fighting

14    some desperate guerilla warfare movement.                Where's the

15    ultimate goal?      The goal is to get to the point where you

16    can eventually fight in the open, right, conventional

17    warfare to defeat the regime.           That's how it goes.         Those

18    are the steps.      Who all would be there?             We have at least

19    half of the military on our side, if not more.                 And if the

20    President does a data dump, exposes all the pedophiles and

21    all the bought and paid for, you know, Chinese bribe-taking

22    traitors.    Exposes all of them, all the scum across the

23    street, then you'll have a vast majority of your fighters in

24    the military.      Only the fully corrupt ones will be on their

25    side; the ones who have everything to lose.                They'll be

                               FREE STATE REPORTING, INC.
                            Court Reporting Transcription
                                 D.C. Area 301-261-1902
                              Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1     Filed 04/21/22   Page 18 of 24     17

 1    swamp (indiscernible).      So there's nothing to lose by doing

 2    the data dump now and take the military in hand now and get

 3    it done.    Do it now.    Don't wait.       Don't think that you're

 4    going to be able to hide in the shadows and someday be the

 5    underground guerilla leader.         That's retarded.        Okay?     You

 6    already have the military right now.            It's time to step up

 7    and do it now.     All right?       So that's all I have to say

 8    about that.

 9                So we did a leaders' recon.          We went into D.C.

10    Then we figured out where we wanted to stage on the outside.

11    We got some preliminary routes figured out.              We'll be doing

12    more this week when we go back.          But this is the beginning,

13    it's not going to be a one-day event.            It's going to be just

14    like in Serbia.     Go watch the videos how they did it there.

15    You've got to build it up.          Basically, it's our own version

16    of the color revolution.       You've got to build it up, build

17    it up, and keep pressure.       The thing is, we're not funded by

18    billionaires, corrupt billionaires.            But we do have

19    something they don't have, is every one of us understand

20    that there is something beyond us.           We're here for a

21    purpose.    You're here.    You were born here at this time.

22    You're still kicking.      Whatever you've gone through in your

23    life, you're still here because you're here for a reason.

24    And it's not to hide in the closet, and it's not to hide and

25    save yourself for some future supposed, you know, secret

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM    Document 104-1   Filed 04/21/22    Page 19 of 24     18

 1    guerilla operation.       Get out there now and go in the streets

 2    of D.C. and make sure this President knows that you've got

 3    his back and urge him and push him to stand up and take his

 4    place in history.       Okay?   It's what you've got to do guys.

 5    All right.    Any questions?

 6                 MR. LARRY:    Hi Stewart.     This is Larry from North

 7    Carolina.    I just want to make sure that if we do go in,

 8    even if we're concealed carry permit holders, we cannot take

 9    our gun in D.C., is that what I'm hearing?

10                 MR. RHODES:    No, D.C. doesn't respect anybody's

11    reciprocity.       They don't respect LEOSA.          Even a police

12    officer that Congress passed a law to let you carry a gun

13    nationwide, it doesn't respect that.           D.C. is -- this is a

14    deep state central.       So you've got to make your own choice

15    about that.    I mean, I'm going to go unarmed only because I

16    know that they're going to be looking to try to pop me for a

17    felony, so I'll go and I'm -- I've been there before.                  We've

18    done D.C. before.       This is not our first rodeo.          We've got

19    (indiscernible) before.         So I'm -- just get ready to scrap,

20    man.   You know, wear yourself some knuckle gloves, wear a

21    cup, wear a helmet, get ready to fight.               If you've got

22    stab-proof body armor, wear that, you know.              So be ready to

23    scrap if you're going to go into D.C.

24                 Now in the past, -- I'll say this.            Okay.   If

25    you're a cop especially, then you've got more gray area with

                               FREE STATE REPORTING, INC.
                            Court Reporting Transcription
                                 D.C. Area 301-261-1902
                              Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 20 of 24        19

 1    other cops.    That's just a reality.        I've seen the D.C.

 2    Police give a courtesy pass to their brother officer who is

 3    armed in D.C.      I have seen that with my own eyes.          So I'm

 4    not going to micromanage what you guys do and don't do, but

 5    the official position is, if we're going to go in complying,

 6    you know, complying with D.C. bullshit gun laws, so that we

 7    are not (indiscernible) being charged with felonies.                 Their

 8    law enforcement, they will prosecute you if they can.                But,

 9    like I said, if you're a law enforcement officer, in

10    particular, you probably have a lot more leeway than anybody

11    else would.

12                So I'll tell you, we've done this in the past.

13    For example, in Berkeley, California, Bill Chaucer (ph.)

14    went in there.     The cops were armed because the cops in

15    Berkeley wouldn't tell the other cop he couldn't be armed in

16    the park.    All of us military veterans were unarmed.               We

17    were just there to fight, you know, helmets on, body armor.

18    We were just holding ourselves up as much as possible, of

19    course we had flashlights, right?         Some guys had walking

20    sticks too.    You use what you got in your hand, when the

21    time comes.    But whether or not you're going to carry if

22    you’re a cop, that's up to you.        Technically, D.C. doesn't

23    respect even LEOSA.      I think that's obviously illegal

24    because it's federal law.       You know, Congress passed LEOSA

25    for a reason, so cops could be on hand and stop terrorism.

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM    Document 104-1   Filed 04/21/22    Page 21 of 24      20

 1    So, frankly, if I were a cop, I'd carry by LEOSA creds.                 I'd

 2    be willing to take that fight and fight that fight.                That's

 3    up to you.    Okay?

 4                 But our official position will be that we will go

 5    in unarmed, and then we'll have our armed QRF on the outside

 6    in case things go completely to shit.           All right?       I know

 7    it's messy and I know it's not perfect.               I understand that

 8    some of you guys are like, you know what, it's

 9    unconstitutional.       Like here is my carry permit.          I'm going

10    to go armed.       You know, screw all of that crap.          But the

11    problem is, is if you do that, you leave yourself open to a

12    felony.    You’re not going to do anybody any good rotting in

13    jail.    So my advice to you is if you will not go into D.C.

14    unarmed, then be part of the QRF on the outside.               Some of

15    them are key fighters.       Some of those guys are not afraid to

16    fight.    Okay?    Let's go to D.C. together.          I'll be right

17    there with you.      So, I want my bikers, I want my fucking

18    street fighters, I want my brawlers.           Okay?     You ready to go

19    into D.C. and brawl.

20                 MR. LARRY:    Thanks, Stewart.       Listen I just want

21    to say one more thing.       I appreciate what you're doing --

22                 MR. RHODES:    Yeah.

23                 MR. LARRY: -- and I'm a hundred percent behind

24    you.

25                 MR. RHODES:    Thank you, brother.          Anyway, I know

                               FREE STATE REPORTING, INC.
                            Court Reporting Transcription
                                 D.C. Area 301-261-1902
                              Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 22 of 24     21

 1    it's messy, but we have done this before.            We've gone to

 2    D.C. several times.      I guess (indiscernible) creds and they

 3    were able to -- BLK, so I'll leave that for the officers to

 4    figure out.    All right.     Any other questions?

 5                MS. WATKINS:    I have a question about less lethal.

 6                MR. RHODES:     Okay.   Let's -- you had a questions

 7    about less lethal?      Go ahead.

 8                MS. WATKINS:    Yes, sir.     We were wondering if less

 9    lethal would include, you know, Mace or pepper balls, things

10    of that nature.

11                (Overlapping voices.)

12                UNIDENTIFIED SPEAKER 1:       Pepper spray is legal.

13    Tasers are legal, and stun guns are legal.            And it doesn't

14    hurt to have a lead pipe with a flag on it.

15                (Overlapping voices.)

16                MR. RHODES:     For example, when I was walking

17    through the streets of Portland, I was quote/unquote

18    unarmed, but I had my helmet in my hand.             Guess what that

19    was for?    That was to whack someone right across the face if

20    they're going to come at me.        So, there are ways around --

21    there's ways of dealing with things that improvise as tools.

22    Okay?

23                UNIDENTIFIED SPEAKER 2:       And so, actually lethal,

24    it just depends on your state.

25                UNIDENTIFIED SPEAKER 3:       Right.      So in D.C., like

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 23 of 24       22

 1    you said, I think (indiscernible).         Pepper spray is legal,

 2    stun gun, and what is the other one?

 3                MR. RHODES:    Taser.

 4                UNIDENTIFIED SPEAKER 2:       Right.

 5                (Overlapping voices.)

 6                UNIDENTIFIED SPEAKER 3:       And even though they are

 7    lawful, we just have to use them appropriately and that's

 8    hitting objects around the people, not the people directly.

 9                MR. RHODES:    The only way I know -- I know -- I

10    just want to (indiscernible) had pepper balls in it, in his

11    paintball gun.     Are you -- do you know for sure for the

12    balls as being not legal in D.C.?

13                UNIDENTIFIED SPEAKER 3:       It depends on the state.

14                (Overlapping voices.)

15                MR. RHODES: (Indiscernible) talking about D.C.

16                MR. KELLY:    In D.C. it is not allowed, sir.            I

17    looked it all up the other day when I sent it to you.                This

18    is Kelly in Martino Cala (ph.).

19                MR. RHODES:    Okay, man.     Just do me a favor and

20    repost that in the chats.       I haven't read that yet.

21                MR. A.S.:    Sir, this is -- we've got A.S. from

22    Dayton County, North Carolina.        What about knives?

23                MR. RHODES:    I believe three inches is the max you

24    can have in D.C.     You can't have anything over three inches,

25    I think.    Will someone else look that up and let me know if

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
Case 1:22-cr-00015-APM   Document 104-1   Filed 04/21/22   Page 24 of 24      23

 1    that's accurate?

 2                MR. A.S.:    That was posted on our chat that there

 3    was not limit on blades.       Knives are legal and knives are

 4    allowed to be secreted.       That was posted in the North

 5    Carolina's Members' Chat.

 6                MR. RHODES:    Well, I read it as you can possess

 7    any knife you want, but when it comes to what you carry on

 8    your body, you can't carry anything longer than three

 9    inches.    That's what we were told last time we were in D.C.

10    for an event.      But let's have someone check on that.             Okay?

11    Rather than all of us trying to sort this out on this phone

12    call.   Let's just go ahead and have some people -- who would

13    like to volunteer to be on a group to research that?

14                MR. A.S.:    I'm posting that now, sir.

15                MR. RHODES:    Who is that, Kelly?        All right.       So

16    Kelly and I (indiscernible).

17                (Overlapping voices.)

18                MR. RHODES:    Who wants to jump in join Kelly in

19    confirming that?     I'm going to assign Eric from Texas to

20    help with that too.      He's pretty good at that kind of stuff.

21    He's one of our leads.      He's been one of leads for -- I'll

22    put Whip on that also.      I've got some more cops on it.

23                (End of recording.)

24

25

                              FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                                D.C. Area 301-261-1902
                             Balt. & Annap. 410-974-0947
